                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:22-CV-00277-FDW-DCK

 WILLIS TOWERS WATSON SOUTHEAST, INC.,                     )
                                                           )
                Plaintiff,                                 )
                                                           )
    v.                                                     )     ORDER
                                                           )
 ALLIANT INSURANCE SERVICES, INC.,                         )
 ANDREW BENNETT, JOHN T. THOMAS, AND                       )
 JENNIFER BOYERS GULLETT,                                  )
                                                           )
                Defendant.                                 )
                                                           )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 45) filed by David E. Stevens, concerning Stefanie R. Moll,

on July 8, 2022. Stefanie R. Moll seeks to appear as counsel pro hac vice for Defendants. Upon

review and consideration of the motion, which was accompanied by submission of the necessary

fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 45) is GRANTED. Stefanie R. Moll

is hereby admitted pro hac vice to represent Defendants.

         SO ORDERED.

                                   Signed: July 8, 2022




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